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Milo Steven Marsden (Utah State Bar No. 4879)
Maryann Bauhs (Utah State Bar No. 17196)
DORSEY & WHITNEY LLP
111 South Main Street, Suite 2100
Salt Lake City, UT 84111
Telephone: (801) 933-7360
Facsimile: (801) 933-7373
Email: marsden.steve@dorsey.com
       bauhs.maryann@dorsey.com

Michael Rowe (Admitted Pro Hac Vice)
DORSEY & WHITNEY LLP
50 South 6th Street #1500
Minneapolis, MN 55402
Telephone: (612) 340-2600
Facsimile: (612) 340-2868
Email: rowe.michael@dorsey.com

Ash Nagdev (Admitted Pro Hac Vice)
SIDLEY AUSTIN LLP
1001 Page Mill Road Building 1
Palo Alto, CA 94304
Telephone: (650) 565-7000
Facsimile: (650) 565-7100
Email: anagdev@sidley.com

Attorneys for Mrs. Fields Gifts, Inc.

            UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH


  JIM CURRY, et al.,

                         Plaintiffs,                    STIPULATED MOTION FOR
            v.                                            SCHEDULING ORDER

  MRS. FIELDS GIFTS, INC.,                             Civil No. 2:22-cv-00651-JNP-DBP

                         Defendant.                 District Judge Jill N. Parrish
                                                    Magistrate Judge Dustin B. Pead




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         Pursuant to Fed. R. Civ. P. 26(f), an attorney’s planning meeting was held on November

20, 2023 telephonically. An attorney’s planning meeting report was filed, presenting

disagreements. Subsequently, counsel for Plaintiffs and Defendant have further met and

conferred and have come to an agreement regarding the schedule in this case. The parties now

stipulate and jointly move this Court to enter the attached proposed scheduling order in

accordance with the parties’ agreement.

         DATED this 16th day of January 2024.



                                             DORSEY & WHITNEY, LLP


                                             /s/ Maryann Bauhs______
                                             Maryann Bauhs
                                             Attorneys for Defendant


                                             HEDIN LLP


                                             /s/ Arun G. Ravindran (signed with permission)
                                             Arun G. Ravindran (Pro Hac Vice)
                                             Attorneys for Plaintiff




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